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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 FRED SKELTON,                                         Case No. 3:22-cv-02958-DWD
                                                       Judge: Honorable David W. Dugan
                     Plaintiff,

          v.                                           Removal from Illinois Third Judicial Circuit
                                                       Court of Madison County, Illinois
 BRANDSAFWAY, LLC f/k/a SAFWAY                         Case No. 2022LA001403
 SERVICES, LLC,

                     Defendant.


                  DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT

          NOW COMES BrandSafway, LLC (“Defendant” or “BrandSafway”), by and through its

 attorneys, Seyfarth Shaw LLP, and for its Answer to Plaintiff’s, Fred Skelton (“Plaintiff” or

 “Skelton”), Complaint, states as follows:

                                  RETALIATORY DISCHARGE

 COMPLAINT ¶1:

        That at all times relevant, defendant, Brandsafway Services, LLC, is a foreign
 corporation with its principal place of business in Waukesha, Wisconsin.

 ANSWER:

          Defendant denies this allegations set forth in Paragraph 1 of the Complaint. Further

 answering, Defendant is a Delaware limited liability company with its principal place of business

 located in Kennesaw, Georgia.

 COMPLAINT ¶2:

      Plaintiff, Fred Skelton, was hired in October of 2017 by Safway Services, LLC, at the
 Wood River Refinery located in the City of Roxana, County of Madison,. State of Illinois.

 ANSWER:

          Defendant denies the allegations as set forth in Paragraph 2 of the Complaint and

 affirmatively states that Plaintiff was initially hired by its subsidiary, BrandSafway Industries,


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 LLC, on or about October 4, 2017 to work at the Wood River Refinery located in the City of

 Roxanna, County of Madison, Illinois. Defendant denies any remaining allegations in Paragraph

 2.


 COMPLAINT ¶3:

       That on or about May 1, 2019, plaintiff, Fred Skelton, was employed by defendant,
 Brandsafway Services, LLC, when he sustained Injuries while performing his job duties.

 ANSWER:

          Defendant admits that Plaintiff claims to have sustained a workplace injury on or about

 May 1, 2019 while working for BrandSafway Industries, LLC. Defendant denies the remaining

 allegations in Paragraph 3 of the Complaint.

 COMPLAINT ¶4:

          Plaintiff notified his employer of a work-related injury and exercised his rights under the
 Illinois Workers’ Compensation Act for his injuries. Plaintiff was told to take a voluntary lay
 off.

 ANSWER:

          Defendant denies the allegations in Paragraph 4 of the Complaint.

 COMPLAINT ¶5:

         After treatment was complete and plaintiff was released on or about August 21, 2021 to
 return to work, he was directed to complete the back ground check, drug test and recertification.

 ANSWER:

          Defendant lacks sufficient knowledge or information to form a belief as to the truth of the

 allegations regarding Plaintiff’s treatment and alleged release to return to work. Defendant

 denies the remaining allegations in Paragraph 5 of the Complaint.

 COMPLAINT ¶6:

        After completion of the requirements, on or about December 21, 2022, plaintiff was
 never called to return to work and therefore believed to be discharged from his employment with
 defendant, Brandsafway Services, LLC

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 ANSWER:

          Defendant lacks sufficient knowledge or information sufficient to form a belief as to the

 truth of what Plaintiff believed. Defendant denies the remaining allegations as set forth in

 Paragraph 6 of the Complaint.

 COMPLAINT ¶7:

       That defendant provided no legitimate basis for discharging plaintiff from his
 employment.

 ANSWER:

          Defendant denies the allegations as set forth in Paragraph 7 of the Complaint.

 COMPLAINT ¶8:

          That plaintiff’s discharge was in retaliation for filing a Workers’ Compensation Act
 claim.

 ANSWER:

          Defendant denies the allegations as set forth in Paragraph 8 of the Complaint.

 COMPLAINT ¶9:

      That defendant’s discharge of plaintiff is in violation of the Illinois Workers’
 Compensation Act, 820 ILCS 3054(H).

 ANSWER:

          Defendant denies the allegations as set forth in Paragraph 9 of the Complaint.

 COMPLAINT ¶10:

       That as a direct and proximate result of said retaliatory discharge, plaintiff has been
 damaged in the following ways:

          (a)    Loss of wages, benefits, raises and promotions;

          (b)    Costs associated with securing subsequent employment; and

          (c)    Humiliation and mental anguish.




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 ANSWER:

          Defendant denies the allegations as set forth in Paragraph 10 of the Complaint and denies

 that it is liable to Plaintiff and denies that Plaintiff is entitled to any of the relief sought in the

 Complaint.

                            AFFIRMATIVE AND OTHER DEFENSES

          1.     Skelton’s claims are barred, in whole or in part, due to the fact that he fails to

 allege facts sufficient to state a claim upon which relief can be granted.

          2.     Skelton’s claims are barred, in whole or in part, because the decisions made in

 regard to his employment were for legitimate, non-retaliatory, and non-pretextual reasons.

          3.     Subject to further proof, Skelton’s claims may be barred, in whole or in part, by

 the doctrines of waiver, estoppel, laches, unclean hands and/or after-acquired evidence.

          4.     To the extent Skelton alleges that any employee of Defendant acted in an

 unlawful manner, such conduct, if it occurred, was outside the course and scope of that

 individual’s employment, was not authorized or condoned by Defendant, and was undertaken

 without the knowledge or consent of BrandSafway. Thus, Defendant is not liable for any such

 conduct, if it occurred.

          BrandSafway reserves the right to amend its Answer and to assert any additional defenses

 or affirmative defenses that may become available or apparent at any future date.




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  DATED: January 13, 2023                        Respectfully submitted,



                                                 By:/s/ Kyle Petersen
                                                     Kyle Petersen

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                                 CERTIFICATE OF SERVICE

          The undersigned certifies that on January 13, 2023, the foregoing document was served

 via ECF notification to:

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                                              /s/Kyle Petersen
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